
ON APPLICATION FOR REHEARING
PER CURIAM.
The -Givil Service Commission seeks a rehearing before the Court En Banc based on a claim that a conflict exists between our conclusion in this case and the decision of another panel of this court in Civil Serv. Com’n, Etc. v. Rochon, 374 So.2d 164 (La. App. 4th Cir. 1979). In conformity with the application, we have submitted to the Court En Banc the questions whether the decision in the instant case is in conflict with Ro-chon and whether a rehearing should be granted before the Court En Banc.
Concluding En Banc that no conflict exists, the application for rehearing before the entire court is denied.
REDMANN, J., dissents.
